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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO


        IN THE MATTER OF:
                                                               CASE NO. 18-05288 (ESL)
        SKYTEC, INC.

               Debtor                                          CHAPTER 11



              MOTION TO INFORM JOINDER TO ORIENTAL BANK’S
           PROPOSED FINDINGS OF FACTS AND CONCLUSIONS OF LAW

        TO THE HONORABLE COURT:

               COMES NOW Debtor through its undersigned counsel and very respectfully

        states and prays:

               1.     On September 12, 2018, Debtor filed its voluntary petition for

        reorganization under the provisions of Chapter 11 of the Bankruptcy Code, and as of

        that date has been operating its business and managing its affairs as a debtor in

        possession, as provided for in the Bankruptcy Code. See Docket No. 1.

               2.     On even date, Oriental Bank (“Oriental”) filed its proposed findings of

        facts and conclusions of law for the hearing on the contested matter regarding

        Logistic System, Inc.’s opposition to the joint stipulation for the interim use of cash

        collateral and adequate protection. See Docket No. 135.

               3.     Debtor has reviewed Docket No. 135, and hereby joins the same in its

        entirety.

               WHEREFORE, it is respectfully requested that this Court takes notice of

        the above.
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              CERTIFICATE OF SERVICE: I hereby certify that on this same date, I

        electronically filed the foregoing with the Clerk of the Court using the CM/ECF

        systems, which will send notification of such filing to the Office of the United

        States Trustee, and all participants of CM/EMF.


              San Juan, Puerto Rico, this 19th day of March, 2019.


                                                 s/ Alexis Fuentes-Hernández, Esq.
                                                 Alexis Fuentes-Hernández, Esq.
                                                 USDC-PR 217201

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